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                            UNITED STATES DISTRICT COURT

                                 DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                               Plaintiff,

       vs.                                                            Case No. 1:21-cr-01419-JB

JAMESON BEGAYE,

                               Defendant.


                      ORDER DENYING MOTION FOR FURLOUGH

       THIS MATTER is before the Court on defendant Jameson Begaye’s Opposed Motion

for Furlough to Attend Funeral, filed on December 2, 2021. Doc. 29. Mr. Begaye is seeking to

be released from custody for 54 hours to attend his son’s funeral. See id. The United States

opposes the motion. Doc. 31. U.S. Pretrial Services’ position is unknown. Doc. 29 at 2. The

Court denies Mr. Begaye’s motion for the following reasons.

       Mr. Begaye is in custody on a charge of second-degree murder. Doc. 21. The Court

decided to detain Mr. Begaye after a preliminary hearing, during which the government

presented substantial evidence regarding the charge against Mr. Begaye and his behavior when

he was apprehended. See Doc. 10; Doc. 12 at 3. Based on the evidence presented and the

information in the pretrial services report, the Court concluded that Mr. Begaye was both a flight

risk and a danger to the community. See Doc. 12 at 2–3. The Court based these findings on its

conclusion that the weight of the evidence against Mr. Begaye was strong and that he would be

subject to a lengthy period of incarceration if convicted, as well as his history of violence or use
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of weapons, his history of alcohol or substance abuse, and his prior attempt to evade law

enforcement. See id. The Court further explained:

       Defendant has multiple arrests for domestic violence-type offenses for which the
       disposition is unknown. The evidence presented at the hearing showed that defendant
       attempted to force his way into his ex-girlfriend’s home, that he became involved in an
       altercation with his ex-girlfriend’s father while doing so, and that he shot and killed his
       ex-girlfriend’s father. A couple days later, once tribal police had identified defendant as
       the suspect, the defendant led the police on a high-speed chase and shot at one of the law
       enforcement officers in pursuit. Defendant admitted that he had been drinking and was
       high on meth when he was apprehended.

Id. at 3. The government’s response describes even more fully the chase and its concerning

nature. Doc. 31 at 1–2. Although the Court sympathizes with Mr. Begaye’s desire to be at his

son’s funeral, nothing in his motion alleviates the Court’s concern that Mr. Begaye poses a grave

danger to the community and is a substantial flight risk. See Doc. 29. Indeed, the Court is

concerned that Mr. Begaye’s temporary release from custody to the same community in which

almost all his criminal activity has occurred and under such emotional circumstances would lead

to substance abuse and possibly violence and/or flight.

       IT IS THEREFORE ORDERED that defendant Jameson Begaye’s Opposed Motion

for Furlough to Attend Funeral (Doc. 29) is DENIED.

       DATED this 6th day of December 2021




                                                     __________________________________
                                                     Laura Fashing
                                                     United States Magistrate Judge




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